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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF KENTUCKY
                                 OWENSBORO DIVISION


   LWD PRP GROUP,                                       )
                                                        )
          Plaintiff,                                    )
                                                        )
   v.                                                   )   Civil Action No. 5:12-CV-00127-
                                                        )   JHM-HBB
   ACF INDUSTRIES LLC, et al.                           )
                                                        )
          Defendants.                                   )

                 MOTION TO DISMISS DEFENDANTS HCA REALTY, INC.,
                   OLYMPIA FIELDS OSTEOPATHIC HOSPITAL AND
               TERRE HAUTE REGIONAL HOSPITAL, LP WITH PREJUDICE

          Plaintiff LWD PRP Group (“Plaintiff”), by and through counsel and pursuant to Federal

   Rule of Civil Procedure 41(a)(2), respectfully moves this Court for an appropriate Order which

   dismisses HCA Realty, Inc. (“HCA Realty”), Olympia Fields Osteopathic Hospital (“Olympia

   Fields Hospital”) and Terre Haute Regional Hospital, LP (“Terre Haute Hospital”) with

   prejudice from this cause. In support of this Motion, Plaintiff states as follows:

          1.      On August 31, 2012, Plaintiff filed a Complaint seeking cost-recovery,

   contribution and declaratory relief under CERCLA at the LWD Incinerator Site against several

   defendants (DN 1). On January 30, 2013, Plaintiff filed a First Amended Complaint, naming

   HCA Realty, Olympia Fields Hospital and Terre Haute Hospital as additional defendants, among

   others (DN 581). On March 29, 2013, Plaintiff filed a Second Amended Complaint against all

   defendants (DN 758). On February 27, 2014, Plaintiff filed a Third Amended Complaint against

   the remaining defendants, including HCA Realty, Olympia Fields Hospital and Terre Haute

   Hospital (DN 985).
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          2.      HCA Realty, Olympia Fields Hospital and Terre Haute Hospital were three of the

   defendants who filed a Rule 12(b)(6) motion to dismiss Plaintiff’s Second Amended Complaint

   (Doc. 776), which the Court denied on February 7, 2014 (Doc. 961).

          3.      HCA Realty, Olympia Fields Hospital and Terre Haute Hospital are also three of

   the defendants who filed the pending Motion for Reconsideration or Alternatively Motion for

   Interlocutory Appeal or Motion to Stay Pending Outcome of Appeal (Doc. 971) and the pending

   Rule 12(b) motion to dismiss Plaintiff’s Third Amended Complaint (Doc. 1002).

          4.      Plaintiff has entered into a confidential settlement agreement with HCA Realty,

   Olympia Fields Hospital and Terre Haute Hospital, which settle all claims between Plaintiff and

   HCA Realty, Olympia Fields Hospital and Terre Haute Hospital for a sum certain and other

   valuable consideration exchanged between the parties.

          5.      Under the terms of the settlement agreement with HCA Realty, Olympia Fields

   Hospital and Terre Haute Hospital, Plaintiff agreed to file a motion to dismiss HCA Realty,

   Olympia Fields Hospital and Terre Haute Hospital as defendants from this cause with prejudice,

   each party to bear its own costs.

          6.      Plaintiff also respectfully requests that HCA Realty, Olympia Fields Hospital and

   Terre Haute Hospital be withdrawn as parties to the pending Motion for Reconsideration or

   Alternatively Motion for Interlocutory Appeal or Motion to Stay Pending Outcome of Appeal

   (Doc. 971) and the pending Rule 12(b) motion to dismiss Plaintiff’s Third Amended Complaint

   (Doc. 1002).

          7.      A proposed Order of Dismissal is attached as Exhibit A.




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          WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that the Court

   enter an appropriate Order dismissing HCA Realty, Olympia Fields Hospital and Terre Haute

   Hospital from this cause with prejudice, each party to bear its own costs; that the Order further

   reflect that HCA Realty, Olympia Fields Hospital and Terre Haute Hospital are withdrawn as

   parties to the pending Motion for Reconsideration or Alternatively Motion for Interlocutory

   Appeal or Motion to Stay Pending Outcome of Appeal (Doc. 971) and the pending Rule 12(b)

   motion to dismiss Plaintiff’s Third Amended Complaint (Doc. 1002); and for such other and

   further relief as the Court deems just and appropriate under the circumstances.

   Dated: April 4, 2014                          Respectfully submitted,


                                                 /s/ Gary D. Justis
                                                 Gary D. Justis               admitted pro hac vice
                                                 Joshua L. Bailey             admitted pro hac vice
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                                                        and

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                                                 ATTORNEYS FOR PLAINTIFF LWD PRP
                                                 GROUP




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                                     CERTIFICATE OF SERVICE

           I hereby certify that on April 4, 2014, a copy of the foregoing Motion to Dismiss HCA

   Realty, Inc., Olympia Fields Osteopathic Hospital and Terre Haute Regional Hospital, LP with

   Prejudice was filed electronically. Notice of this filing will be sent to all parties by operation of

   the Court’s electronic filing system. Parties may access this filing through the Court’s Electronic

   Case Filing System.


                                                  /s/ Gary D. Justis
                                                  Gary D. Justis




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